
PER CURIAM:
Steven C. Sterling and Laura M. Sterling appeal from the district court’s order affirming the bankruptcy court’s order lifting the automatic stay with respect to his residence. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Sterling v. Beskins, No. 3:07-cr-00039-nkm, 2007 WL 2915170 (W.D.Va. Oct. 4, 2007). We deny the Appellants’ motion for preparation of a transcript at government expense, and dis*223pense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

